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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JAMES MICHAEL AMOR, et al.,                       :
               Plaintiffs,                        :
                                                  :
                     v.                           :       Civil No. 5:21-cv-05574-JMG
                                                  :
COURTNEY CONOVER,                                 :
                  Defendant.                      :
__________________________________________

                                           ORDER

       AND NOW, this 18th day of August, 2023, upon consideration of Defendant’s Motion to

Amend Order and Judgment (ECF No. 121) pursuant to Fed. R. Civ. P. 59, Plaintiff’s Response in

Opposition thereto (ECF No. 128), and Defendant’s Rebuttal to Opposition to Motion to Amend

Order and Judgment (ECF No. 130), for the reasons stated in the accompanying Memorandum

Opinion, IT IS HEREBY ORDERED as follows:

       1.     Defendant’s Motion (ECF No. 121) is DENIED IN PART and GRANTED IN

PART as follows:

                   a. The Defendant’s motion to reverse the judgment as to liability is

                      DENIED.

                   b. The Defendant’s motion to vacate the jury’s compensatory and punitive

                      damages is DENIED IN PART.

                           i. The compensatory damages award to Plaintiff Dr. James Amor is

                              remitted from $750,000 to $50,000.

                          ii. The punitive damages award to Plaintiff Dr. James Amor is

                              remitted from $250,000 to $1,000.

                          iii. The compensatory damages award to Plaintiff Ms. Patricia Amor
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                              is remitted from $300,000 to $20,000.

                         iv. The punitive damages award to Plaintiff Ms. Patricia Amor is

                              remitted from $100,000 to $500.

       2.     A new trial on damages will be held unless the Plaintiffs accept the remittitur as

described above. Plaintiffs shall inform the Court, in writing, of their decision concerning the

remittitur on or before September 1, 2023.


                                             BY THE COURT:



                                             /s/ John M. Gallagher
                                             JOHN M. GALLAGHER
                                             United States District Court Judge




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